                                                            Case 8:22-bk-12142-SC     Doc 413 Filed 04/19/24 Entered 04/19/24 11:47:43         Desc
                                                                                       Main Document     Page 1 of 4


                                                             1 David M. Goodrich, State Bar No. 208675
                                                               dgoodrich@go2.law
                                                             2 GOLDEN GOODRICH LLP
                                                               3070 Bristol Street, Suite 640
                                                             3 Costa Mesa, California 92626
                                                               Telephone 714-966-1000
                                                             4 Facsimile     714-966-1002

                                                             5 Chief Restructuring Officer
                                                               for Debtor and Debtor-in-Possession
                                                             6

                                                             7

                                                             8                         UNITED STATES BANKRUPTCY COURT

                                                             9              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                                                            10 In re                                         Case No. 8:22-bk-12142-SC

                                                            11 2ND CHANCE INVESTMENT GROUP, LLC, Chapter 11
                                         Fax 714-966-1002




                                                            12               Debtor and Debtor-in-           DECLARATION OF RAYSHON FOSTER
                         3070 Bristol Street, Suite 640
                          Costa Mesa, California 92626




                                                                             Possession.                     IN SUPPORT OF AMENDED
Golden Goodrich LLP




                                                            13                                               APPLICATION FOR PAYMENT OF FINAL
                                                                                                             FEES AND EXPENSES OF DAVID M.
                                                            14                                               GOODRICH, CHIEF RESTRUCTURING
                                                                                                             OFFICER
                                                            15
                      Tel 714-966-1000




                                                                                                             DATE:        May 7, 2024
                                                            16                                               TIME:        10:00 a.m.
                                                                                                             CTRM:        5C/Via ZoomGov
                                                            17                                                            411 West Fourth Street
                                                                                                                          Santa Ana, California 92701
                                                            18

                                                            19                          DECLARATION OF RAYSHON FOSTER

                                                            20         I, Rayshon Foster, declare:

                                                            21         1.    I am the Managing Member of 2nd Chance Investment Group, LLC, the

                                                            22 debtor and debtor-in-possession in the above-captioned case. The following is within my

                                                            23 personal knowledge, and if called as a witness, I could and would testify competently with

                                                            24 respect thereto.

                                                            25 //

                                                            26 //

                                                            27 //

                                                            28
                                                                                                            1                               DECLARATION
                       Case 8:22-bk-12142-SC    Doc 413 Filed 04/19/24 Entered 04/19/24 11:47:43           Desc
                                                 Main Document     Page 2 of 4



                   F             F/#B)F>)B1)C)(F@/)F                      
               F   ;'5)@F;F F 9):()(F<<61'#@1;: +16)(F%EF#B0(FF ;;(>1'/F/0)*F
                                                   
                                                                          
                                                                           




               F !)?@>A'@A>0:.F -')>F#:(F/#B)F:;F;&4)'@1;:F@;F@/)F+))?F;>F@/)F)D<):?)?F>)=A)?@)(F2:F@/)F
                  F 9):()(F<<70'#@1;: F

                  F         F()'6#>)FA:()>F<):#6@EF;+F<)>4A>EF@/#@F@/)F*;>).;3:.F1?F@>A)F#:(F';>>)'@F

                           D)'A@)(F;:F@/1?F F,F (#EF;+F<>08F F#@F F F"1>.0:0# F

                  F
                  
                                                                         #E?/;:F$?@)>F
                  
                   F
                   F

   
         
              F
     
   
 
   
                  F


 
 
                  F
  
 
   
 
         

        
  
    
 
                  F
  
  
  
            F

      
      
   
   
                  F
              
              
              
              
              
              
              
              
              
              
              

                                                                    F                                  
        Case 8:22-bk-12142-SC                     Doc 413 Filed 04/19/24 Entered 04/19/24 11:47:43                                      Desc
                                                   Main Document     Page 3 of 4




                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                    3070 Bristol Street, Suite 640, Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF RAYSHON FOSTER IN
SUPPORT OF AMENDED APPLICATION FOR PAYMENT OF FINAL FEES AND EXPENSES OF DAVID M. GOODRICH,
CHIEF RESTRUCTURING OFFICER will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
April 19, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                  X Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) April 19, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                  X Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served):                Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
____________________________, I served the following persons and/or entities by personal delivery, overnight mail
service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
no later than 24 hours after the document is filed.




                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

      April 19, 2024                        David M. Fitzgerald
           Date                                   Printed Name                                                         Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
0.0
       Case 8:22-bk-12142-SC          Doc 413 Filed 04/19/24 Entered 04/19/24 11:47:43         Desc
                                       Main Document     Page 4 of 4


TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF:
Michael Jay Berger michael.berger@bankruptcypower.com,
yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
Amanda G. Billyard abillyard@bwlawcenter.com
Jeffrey W Broker jbroker@brokerlaw.biz
Stephan M Brown ECF@thebklawoffice.com,
stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com
Kathleen A Cashman-Kramer kcashman-kramer@fennemorelaw.com, theresam@psdslaw.com
Bryant S Delgadillo bryant.delgadillo@piblaw.com, marian.flores@piblaw.com
Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
Lazaro E Fernandez lef17@pacbell.net, lef-sam@pacbell.net;lef-
mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
David M Goodrich dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
Daniel J Griffin daniel@thebklawoffice.com, tclayton@thebklawoffice.com;daniel@thebklawoffice.com
D Edward Hays ehays@marshackhays.com,
ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com
Matthew S Henderson matthew.henderson@piblaw.com, rhonda.viers@piblaw.com
Brandon J. Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
Sweeney Kelly kelly@ksgklaw.com
Charity J Manee cmanee@goeforlaw.com, kmurphy@goeforlaw.com
Randall P Mroczynski randym@cookseylaw.com
Queenie K Ng queenie.k.ng@usdoj.gov
Douglas A Plazak dplazak@rhlaw.com
Arjun P Rao arjun.rao@morganlewis.com, lacalendar@stroock.com
Arvind Nath Rawal arawal@aisinfo.com
Matthew D. Resnik Matt@rhmfirm.com,
roksana@rhmfirm.com;rosario@rhmfirm.com;sloan@rhmfirm.com;priscilla@rhmfirm.com;rebeca@rhmfirm.com;david@rh
mfirm.com;susie@rhmfirm.com;max@rhmfirm.com;russ@rhmfirm.com
Gary B Rudolph grudolph@fennemorelaw.com,
bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;kcashman-
kramer@fennemorelaw.com;ejames@fennemorelaw.com;james@ecf.courtdrive.com
Cheryl A Skigin caskigin@earthlink.net, caskigin@earthlink.net
Richard L. Sturdevant rich@bwlawcenter.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Christopher P. Walker cwalker@cpwalkerlaw.com, lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
Fanny Zhang Wan fwan@raslg.com
Andy C Warshaw awarshaw@bwlawcenter.com, warshaw.andyb110606@notify.bestcase.com
Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

SERVED BY UNITED STATES MAIL:
2nd Chance Investment Group, LLC
600 W. Santa Ana Blvd.
PMB 5045
Santa Ana, CA 92701
DEBTOR

Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
411 W. Fourth St., Ste 5130/Ctrm 5C
Santa Ana, CA 92701-4593
